                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

 UNITED STATES OF AMERICA                              )
                                                       )
                v.                                     )         No.: 2:19-CR-1
                                                       )
 RICHARD LEE DAVIS                                     )

                                   U.S.S.G. ' 3E1.1(b) MOTION

        Comes the United States of America and pursuant to U.S.S.G. ' 3E1.1(b) states that the

 defendant has assisted authorities by timely notifying the United States of his intention to enter a

 guilty plea thereby permitting the United States to avoid preparing for trial and permitting the

 United States and the Court to allocate their resources efficiently.

                                                       Respectfully submitted,

                                                       J. DOUGLAS OVERBEY
                                                       United States Attorney

                                               By:     s/ Robert M. Reeves
                                                       ROBERT M. REEVES
                                                       Assistant U.S. Attorney
                                                       BPR: 011110
                                                       220 West Depot Street, Ste. 423
                                                       Greeneville, TN 37743
                                                       robert.reeves@usdoj.gov
                                                       423/639-6759




Case 2:19-cr-00001-RLJ-CRW Document 36 Filed 09/23/19 Page 1 of 1 PageID #: 96
